Case 19-10553-mdc   Doc 14   Filed 02/15/19 Entered 02/15/19 09:25:20   Desc Main
                             Document     Page 1 of 2


    Durwin                       Godwin




                Eastern                   Pennsylvania

    19-10553




                                   X




                                                         0.00   0.00
Case 19-10553-mdc   Doc 14        Filed 02/15/19 Entered 02/15/19 09:25:20       Desc Main
   Durwin               Godwin    Document     Page 2 of 2         19-10553




                                                        0.00          0.00




                                                        0.00          0.00

                                                        0.00          0.00




                     live in girlfriend contribution                  5,500.00

                                                        0.00          5,500.00


                                                        0.00          5,500.00         5,500.00




                                                                                       5,500.00
